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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

                              CASE NO. 2:21-cv-642-SPC-MRM

DAVID POSCHMANN,

              Plaintiff,
v.

BONITA RESORT & CLUB
ASSOCIATION, INC.,

            Defendant.
____________________________________/

                                 NOTICE OF SETTLEMENT

       Plaintiff, by and through his undersigned counsel, hereby informs the Court that this matter

has been resolved.

       Dated: October 28, 2021

                                                     s/Drew M. Levitt
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                                                     Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 28, 2021, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the forgoing document is being
served this day on all counsel of record identified on the attached Service List via CM/ECF.

                                                     s/Drew M. Levitt
                                                     DREW M. LEVITT


                                        SERVICE LIST

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